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                                  STATEMENT OF FACTS

       Your affiant,                   , is a Special Agent assigned to the Cleveland Division,
Canton Resident Agency of the Federal Bureau of Investigation. In my duties as a special agent, I
have participated in investigations of, among other things, violent crimes, threats, gangs, drugs,
domestic and international terrorism, and other federal offenses, including the execution of arrest
and search warrants. Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.



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        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

                            FACTS SPECFIC TO CLAY NORRIS

        On January 6, 2021, Clay (a/k/a Clayton) Norris, identified further below, was located on
the East Front of the U.S. Capitol grounds. Video evidence shows that he arrived sometime before
12:45 p.m. He could be seen wearing black pants, a black hoodie with the image of a fist and
script reading “Resist” underneath, a black hat with red and white stripes and “Trump 2020”
written across it, an American flag colored neck gaiter, black gloves, and tinted glasses. He was
often holding a red and white megaphone, as shown in Image 1.




                                              Image 1

        From at least approximately 12:45 p.m., according to video evidence, Norris was present
outside of the metal bike rack barricades marking the restricted perimeter of the U.S. Capitol on
January 6, 2021. Until approximately1:45 p.m., video from third parties shows that Norris walked
around behind the barricades, chanting and yelling at officers, who were lined up on the opposite
side of the barricades and in front of the Capitol building. Norris could be heard chanting, “Stop
the steal!”, “Whose house?”, and “Fight for Trump!”, among other things, almost always
projecting his voice through a megaphone, as shown in Image 2. Norris also directly yelled at
officers during this time. He said things to officers such as, “We get bad news, let us drain that
swamp. All we ask is you walk away. Let us bring it. Let us bring it,” and “We ain’t going to
hurt you. We’re going to push through.” Norris also spoke with individuals in the crowd. Norris
told one individual in the crowd, “I got bad news. We’re pushing through. You better get down

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with us or back off because we’re pushing through.” He cautioned those around him to exercise
discretion about the plan to go into the Capitol: Individual: “Get ready to storm the Capitol”,
Norris: “Hey discretion. Discretion is the word. Discretion. We’re going to let it play out. We’re
going to let it play out.” Norris also engaged in discussions about the certification of the 2020
election, which was underway inside the Capitol building at that time. One individual in the crowd
stated, “We have two. We have two. Pennsylvania and Arizona have rejected,” which your affiant
understands to be a reference to objections to ballots submitted by certain states made by members
of Congress during the certification proceeding. Norris responded, “Yeah, but who rejected
them?”




                                             Image 2

        At approximately 1:45 p.m., together with other rioters, video taken by third parties in the
crowd shows that Norris pushed metal fencing that formed the barricade against U.S. Capitol
Police Officers, who were attempting to prevent rioters from advancing towards the Capitol
building. Photos and videos from various angles depict Norris pushing the barricade against police
officers, as shown in Images 3, 4, and 5.


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                        Image 3
                                                                              Image 4




                                            Image 5

       This video footage shows that Norris was able to breach the barricades after the push, as
shown in Image 1, but officers were able to reestablish the police line and marshal rioters like
Norris who had broken through back behind the barricades. While pointing to the Capitol building,
Norris again yelled at police officers, as shown in Image 6. He stated, “We don’t want you guys.
We want them,” your affiant believes he was referring to elected officials in the building.


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                                               Image 6

        According to third party videos, Norris then moved away from the front of the barricade
line but continued to yell words of encouragement to other rioters through a megaphone. To
members of the crowd, Norris said, “Make a stand. Make a stand, while there is still time to make
a stand . . . How long are you going to be peaceful and selfish? Think about the kids and future
children. Make a stand. Make a stand for your country.”

        At approximately 2:00 p.m., while Norris was still behind the barricades, third party video
and closed circuit video from the Capitol shows that other rioters pushed the metal fencing against
U.S. Capitol Police on a second occasion. As rioters pushed against the barricades some barricades
were pushed back into the crowd where Norris was standing still speaking on the megaphone.
Norris moved the pushed over barricades to the side. Rioters were able to successfully breach the
barricades and move toward the Capitol. Norris moved forward to join the advancing crowd of
rioters. Norris and other rioters advanced into the restricted area of the Capitol grounds and
towards the Capitol building. According to third party video, Norris was one of the first rioters to
reach the East Central Steps of the Capitol building. He ascended the East Central Steps where
another police line had formed halfway to the top. Norris was directly in front of the police line
and he continued to yell at police officers through a megaphone. Among other things, Norris
motioned with his left hand towards the Capitol building and told police officers, “Send those
motherfuckers out to talk to us,” your affiant believes that Norris is referring to elected officials in
the Capitol. (Image 7.)




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                                                  Image 7

        Video footage shows that officers were unable to hold the police line established on the
stairs and were forced to retreat to the terrace level of the Capitol building. Norris continued to
advance toward the building. He was one of the first rioters to reach the top of the East Central
Stairs. Norris, along with other rioters, surrounded police officers near the Rotunda door and
continued to rush towards the building. Norris can be heard yelling, “Push forward!,” and
chanting, “USA!” Norris pushed into at least one officer’s shield, as shown in Images 8 and 9.




               Image 8                                                       Image 9

        Eventually, Norris is seen in video footage close to the Rotunda door, as shown in Image
10. As Norris and other rioters appeared to be trying to get inside the building, U.S. Capitol Police
deployed gas. The video footage shows that Norris retreated to the back of the crowd in response
to the gas.




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                                            Image 10

                           IDENTIFICATION OF CLAY NORRIS

        After the riot activity of January 6, 2021, FBI Cleveland, Canton Resident Agency opened
an investigation into Canton, Ohio subject John Douglas Wright. Wright was arrested on May 3,
2021 and indicted by a Federal Grand Jury on May 5, 2021 on charges related to entering the U.S.
Capitol Building, including Title 18 United States Code, Section 231(a)(3), Civil Disorder and
Title 18, United States Code, Section 1512(c)(2), Obstruction of an Official Proceeding. On
August 2, 2022, Wright plead guilty to Title 18, United States Code, Section 1512(c)(2),
Obstruction of an Official Proceeding and was sentenced on March 6, 2023 to forty nine months
in federal prison.

       As part of the investigation into Wright, a federal search warrant was issued in the United
States District Court for the District of Columbia for the Facebook account belonging to Wright,
username                      The search warrant was executed on March 9, 2021, and results were
returned on March 15, 2021.

        A review of the Facebook search warrant results for                       revealed Wright
communicated with an account believed to belong to Norris. Two Facebook names were
associated with the account allegedly belonging to Norris at different times: CT FREEDOMS and
CLAYTON TRUMPER. Your affiant believes that this account belonged to Norris as “CT
Freedoms” and “Clayton Trumper” are usernames that your affiant believes Norris has used on
other platforms, specifically on X. An account on X with the username @ClaytonTrumper was
discovered and the name associated with that account is CT Freedoms. On November 8, 2020, in

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reply to a tweet from the X account belonging to Donald J. Trump, @ClaytonTrumper posted a
photograph of the individual known to your affiant as Norris standing on a vehicle with megaphone
in hand, as shown in Image 11.




                                                Image 11

         On January 8, 2021, a few days after the riot, Wright shared a zoomed in version of Image
3, stating “I GOING TO SEND A PICTURE OF ME                            CLAYTON TO SHOW TO
HIM.” Based on this, your affiant believes that Wright purports that the photo shows him,
                                                                           —and “Clayton”—who
Your affiant believes is a reference to Norris—pushing a police barrier at the U.S. Capitol
Building.

        On January 6, 2021 at 7:56 a.m. the account believed to be associated with Norris said to
Wright “Pence don’t stand up today what choice do we have but to Riot!!!” Later, at 2:45 p.m.,
Norris messaged in a group chat “I got mace we breached both sides of the white house brother.”
Your affiant believes that Norris was referring to the U.S. Capitol Building, but mistakenly called
it the “White House.”



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       Even prior to January 6, 2021, Norris and others appear to be discussing bringing weapons,
such as bear spray, hornet spray, and “Raid” to the U.S. Capitol.

               Statement by NORRIS in a Facebook Messenger Group Chat:

               Author Individual 1
               Sent   2021-01-05 20:06:41 UTC
               Body Bear dpray is great just not sure where to get it local

               Author Individual 2
               Sent   2021-01-05 20:16:38 UTC
               Body I got a can of hornet spray that I’m taking

               Author Account associated with Norris
               Sent   2021-01-05 20:18:57 UTC
               Body 😆

               Author Individual 3
               Sent   2021-01-05 20:20:36 UTC
               Body LMAO

               Author Account associated with Norris
               Sent   2021-01-05 20:29:10 UTC
               Body We need Raid!!!!

        On May 4, 2021, your affiant went to interview Norris at his place of employment. Upon
arriving, your affiant met Norris. Your affiant is able to identify Norris as the individual shown in
the above images.

        Based on the foregoing, your affiant submits that there is probable cause to believe that
Clay Norris violated 18 U.S.C. § 1752(a)(1), (2) and (4), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
(2) knowingly, and with intent to impede or disrupt the orderly conduct of Government business
or official functions, engage in disorderly or disruptive conduct in, or within such proximity to,
any restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; and (4) knowingly engage in any
act of physical violence against any person or property in any restricted building or grounds; or
attempt or conspire to do so. For purposes of Section 1752 of Title 18, a “restricted building”
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

       Your affiant submits there is also probable cause to believe that Clay Norris violated 40
U.S.C. § 5104(e)(2)(F), which makes it a crime to willfully and knowingly engage in an act of
physical violence in the Grounds or any of the Capitol Buildings.

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        Your affiant submits there is probable cause to believe that Clay Norris violated 18
U.S.C. 231(a)(3), which makes it unlawful to commit or attempt to commit any act to obstruct,
impede, or interfere with any fireman or law enforcement officer lawfully engaged in the lawful
performance of his official duties incident to and during the commission of a civil disorder which
in any way or degree obstructs, delays, or adversely affects commerce or the movement of any
article or commodity in commerce or the conduct or performance of any federally protected
function. For purposes of Section 231 of Title 18, a federally protected function means any
function, operation, or action carried out, under the laws of the United States, by any department,
agency, or instrumentality of the United States or by an officer or employee thereof. This includes
the Secret Service’s protection of the Vice President and his family and the Capitol Police’s
protection of the U.S. Capitol.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 2nd day of May 2024.
                                                                       Zia M. Faruqui
                                                                       2024.05.02
                                                                       11:01:19 -04'00'
                                                     __________________________________
                                                     ZIA M. FARUQUI
                                                     U.S. MAGISTRATE JUDGE




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